          Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 1 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
Libancell S.A.L.,                                     :
                                                      :
         Petitioner,                                  :           06 Civ. 2765 (HB)
                                                      :
         -against-                                    :           OPINION & ORDER
                                                      :
The Republic of Lebanon,                              :
                                                      :
         Respondent.                                  :
------------------------------------------------------X
Hon. Harold Baer, Jr., District Judge:

           On April 10, 2006, Libancell S.A.L. (“Libancell” or “petitioner”) moved ex parte
for a temporary restraining order (“TRO”) preventing, inter alia, Deutsche Bank Trust
Company Americas (“Deutsche Bank”) from transferring or disposing of any assets in
which the Republic of Lebanon (“Lebanon”) had an interest. This Court issued the TRO
and required Lebanon to show cause on April 18, 2006 why a preliminary injunction and
order of attachment should not issue. Prior to the hearing, Caisse Nationale des Caisses
d’Epargne, S.A. (“CNCE”), IXIS Corporate & Investment Bank, S.A. (“IXIS”),1 and
Banque du Liban (“Central Bank of Lebanon” or “Central Bank”)2 moved by order to
show cause to intervene in the action in opposition to Libancell’s motion. Lebanon and
non-party Deutsche Bank also submitted memoranda and appeared at the hearing. On
April 18, 2006, I vacated the TRO. For the reasons that follow, Libancell’s motion for a
preliminary injunction and order of attachment is DENIED.


                                              BACKGROUND
           The following facts are taken from the parties’ affidavits submitted in connection
with this motion and, except as where otherwise noted, are not in dispute. Libancell, a
Lebanese corporation, is involved in the telecommunications industry in Lebanon.
Beginning in 1994, Libancell contracted with Lebanon to provide cellular telephone
service. Disputes arose between Libancell and Lebanon regarding their agreement, and


1
    IXIS is a wholly owned subsidiary of CNCE.
2
    It is undisputed that Banque du Liban is in fact the central bank of Lebanon.


                                                                                            1
         Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 2 of 8



the parties proceeded to arbitration under the aegis of the United Nations Commission on
International Trade Law (“UNCITRAL”). The bulk of the arbitration occurred in Beirut.
On July 11, 2005, the UNCITRAL tribunal issued an award in favor of Libancell in the
amount of $265,158,184.00, plus interest. On September 26, 2005, the Supreme Court of
Paris, France entered an order of “Exequatur” (analogous to confirmation here)
permitting enforcement of the award by Libancell.
         On April 10, 2006, simultaneous with the filing of its ex parte motion for a TRO,
Libancell filed a petition in this court to confirm the UNCITRAL award or, in the
alternative, to recognize and enforce the French judgment. In support of its request for a
TRO, Libancell represented that it had reason to believe that Lebanon would issue several
hundred million dollars in capital notes through New York financial institutions on April
12, 2006. Libancell sought to prevent Lebanon from transferring the proceeds of this
bond sale outside of this jurisdiction. However, having apparently received word of an
impending attachment, Lebanon cancelled the offering. Instead, acting upon the TRO,
Deutsche Bank restrained $162,911,250.00 in funds claimed by the Central Bank of
Lebanon. These funds comprised two wire transfers between the Central Bank and IXIS,
for which Deutsche Bank acted as intermediary.


                                       DISCUSSION
         A. Motions to Intervene
         Rule 24(a) provides for intervention as of right when “the applicant claims an
interest relating to the property or transaction which is the subject of the action and the
applicant is so situated that the disposition of the action may . . . impair or impede the
applicant’s ability to protect that interest, unless the applicant’s interest is adequately
represented by existing parties.” Fed. R. Civ. P. 24(a)(2). See also Washington Elec.
Coop., Inc. v. Massachusetts Mun. Wholesale Elec. Co., 922 F.2d 92, 96-97 (2d Cir.
1990).
         By Order to Show Cause dated April 17, 2006, the Central Bank sought to
interevene “for the limited purpose of asserting [its] immunity from pre or post judgment
attachment or execution (and any related injunctive relief) with respect to the Central
Bank’s property held for its own use. . .” This motion was unopposed, and the Central



                                                                                              2
       Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 3 of 8



Bank was permitted to appear and present argument at the April 18th hearing. Thus, the
Central Bank’s motion to intervene for the limited purpose of opposing the April 10th
TRO is granted, nunc pro tunc. In addition, CNCE and IXIS, by Order to Show Cause
dated April 18, 2006, moved to intervene and to assert a counterclaim for damages
against Libancell. CNCE and IXIS appeared at the April 18th hearing. However, on May
2, 2006 Libancell filed an opposition to CNCE and IXIS’ motion to intervene. By Notice
dated May 12, 2006, CNCE and IXIS’ motion was withdrawn. Therefore, CNCE and
IXIS’ motion to intervene is denied as moot.


        B. Order of Attachment
        Pursuant to Rule 64, “all remedies providing for seizure of person or property for
the purpose of securing satisfaction of the judgment ultimately to be entered in the action
are available [as] . . . provided by the law of the state in which the district court is held. .
.” Fed. R. Civ. P. 64. New York law provides for attachment in actions for money
damages when, inter alia, “the defendant is a nondomicilliary residing without the state”
or “the cause of action is based on a [foreign] judgment . . . which qualifies for
recognition under the provisions of article 53.” N.Y. C.P.L.R. §§ 6201(1), (5). In
addition, New York allows for the entry of an ex parte temporary restraining order
pending the outcome of a motion on notice for an order of attachment. See N.Y.
C.P.L.R. § 6210 (“Upon a motion on notice for an order of attachment, the court may,
without notice to the defendant, grant a temporary restraining order prohibiting the
transfer of assets by a garnishee. . .”). Libancell concedes that the attachment sought here
would be “prejudgment” because the arbitration award has not yet been reduced to a
judgment in the United States. (See Petioner’s Memorandum of Law dated April 10,
2006 (“Petitioner’s Mem.”) at 9 n.2).


        1. Foreign Sovereign Immunities Act
        The Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1602, et seq., “‘sets
forth the sole and exclusive standards to be used in resolving questions of sovereign
immunity raised by foreign states before Federal and State courts . . .’” Banco de
Seguros del Estado v. Mutual Marine Office, Inc., 344 F.3d 255, 260 (2d Cir. 2003)



                                                                                                   3
       Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 4 of 8



(quoting H.R. Rep. No. 94-1487, 94th Cong., 2d Sess. (1976), reprinted in 1976
U.S.C.C.A.N. 6604, 6610). Thus, the FSIA “governs actions against foreign states and
agencies or instrumentalities of foreign states.” Concord Reinsurance Co., Ltd. v. Caja
Nacional de Ahorro Y Seguro, No. 93 Civ. 6606, 1994 WL 86401, *1 (S.D.N.Y. March
16, 1994). Petitioner does not dispute that both the Republic of Lebanon and the Central
Bank of Lebanon are subject to the FSIA.
       Pursuant to the FSIA, “[f]oreign states are immune from prejudgment attachment
of their assets used for commercial activity in the United States, unless ‘the foreign state
has explicitly waived its immunity from attachment prior to judgment . . .’” Banco de
Seguros, 344 F.2d at 261 (quoting 28 U.S.C. § 1610(d)(1)) (emphasis in original). “[A]
waiver of immunity from prejudgment attachment must be explicit in the common sense
meaning of that word: ‘the asserted waiver must demonstrate unambiguously the foreign
state’s intention to waive its immunity from prejudgment attachment in this country.’”
Banco de Seguros, 344 F.2d at 261 (quoting S & S Mach. Co. v. Masinexportimport, 706
F.2d 411, 416 (2d Cir. 1983)).
       Furthermore, the FSIA also provides that the “property of a ‘foreign central bank’
. . . ‘held for its own account’ is immune from attachment . . . unless the bank . . . or its
parent foreign government [‘]has explicitly waived its immunity from attachment in aid
of execution, or from execution. . .’” Concord Reinsurance, 1994 WL 86401, *2 (quoting
28 U.S.C. 1611(b)) (emphasis omitted). Thus, while a central bank’s immunity from
attachment in aid of execution (i.e., post judgment attachment) may be waived, the
property of a foreign central bank “is absolutely immune from prejudgment attachment,
and that immunity cannot be waived.” Concord Reinsurance, 1994 WL 86401, *2
(emphasis added).
       Here, the TRO restrained Lebanon and Deutsche Bank as well as “any other
persons having actual notice” from transferring “any property or assets in their possession
or custody . . . in which respondent the Republic [of Lebanon] ha[d] an interest, including
any funds relating to the exchange and issuance of commercial notes” referenced in the
March 30, 2006 offering prospectus. (Order to Show Cause dated April 10, 2006). Thus
the TRO, while apparently intended to restrain the proceeds from a specific bond
offering, in fact effectuated the restraint of other funds in which Lebanon had “an



                                                                                                4
       Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 5 of 8



interest.” This included the two wire transfers to which the Central Bank was a party,
both of which involved funds held by the Central Bank “for its own account,” i.e.,
exclusively for central banking purposes. (Declaration of Marwan M. Nsouli, dated April
15, 2006 ¶ 7). These funds are absolutely immune from prejudgment attachment. See 28
U.S.C. § 1611(b).3
        However, the FSIA does provide for prejudgment attachment of funds used for
commercial activities, when immunity from prejudgment attachment has been explicitly
waived. See 28 U.S.C. § 1610(d). A sovereign debt offering is a commercial activity
within the definition of the FSIA. See Republic of Argentina v. Weltover, 504 U.S. 607,
614 (1992) (“when a foreign government acts, not as regulator of a market, but in the
manner of a private player within it, the foreign sovereign's actions are “commercial”
within the meaning of the FSIA”). Thus, before Libancell may be permitted to attach the
proceeds of a potential debt offering, I must determine whether Lebanon has explicitly
waived its immunity from prejudgment attachment.
        Libancell argues that: 1) Lebanon waived its immunity from prejudgment
attachment by becoming a party to the Convention on the Recognition and Enforcement
of Foreign Arbitral Awards (the “New York Convention”), 9 U.S.C. § 201, et seq., ; and
2) Lebanon’s agreement to arbitrate its dispute in accordance with UNCITRAL
arbitration rules also constituted such a waiver. Both arguments are unavailing.
        Article VI of the New York Convention provides:
        If an application for the setting aside or suspension of [an] award has been
        made to a competent authority referred to in article V(1)(e), the authority
        before which the award is sought to be relied upon may . . . on the
        application of the party claiming enforcement of the award, order the other
        party to give suitable security.

9 U.S.C. § 201, art VI. See Skandia America Reinsurance Corp. v. Caja Nacional de
Ahorro Y Segoro, No. 96 Civ. 2301, 1997 WL 278054, *5 (S.D.N.Y. May 23, 1997).
Under Article V(1)(e) of the New York Convention, “a competent authority is ‘a
3
  At the hearing, Libancell requested a three day extension of the TRO with respect to the funds held by
Deutsche Bank belonging to the Central Bank. Libancell argued that the restrained funds may in fact have
been intended for a commercial purpose. In support of this argument, Libancell submitted a receipt for a
wire transfer between Lebanon and Libancell, dated May 16, 2005, that had been drawn on an account at
the Central Bank. (See Libancell’s letter dated April 18, 2006, Ex. A). However, Libancell submitted no
direct evidence that the restrained funds were in any way connected to any commercial transaction. Thus,
Libancell did not provide sufficient support for continued restraint of the funds.


                                                                                                       5
      Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 6 of 8



competent authority of the country in which, or under the law of which, the award was
made.’” Skandia, 1997 WL 278054, *5 (quoting 9 U.S.C. § 201, Art. V(1)(e)).
       However, Article VI “concerns a situation in which the party against whom an
award has been entered seeks affirmative relief from the court. That situation is not at all
the same as [the case at bar, where] the party that obtained an award seeks prejudgment
security in a court of its own choosing.” Concord Reinsurance, 1994 WL 86401, *2. See
also Skandia, 1997 WL 278054, *5 n.10 (noting in dicta that Article VI of the New York
Convention does not constitute an explicit waiver of immunity from prejudgment
attachment). International Ins. Co. v. Caja Nacional De Ahorro Y Seguro, 293 F.3d 392
(7th Cir. 2002), upon which petitioner relies, is not to the contrary. There, a domestic
insurer sought to confirm an arbitration award issued against an Argentinian reinsurer.
International, 293 F.3d at 393-94. When the reinsurer answered and interposed several
affirmative defenses, the petitioner sought an order requiring the respondent to post
prejudgment security. Id. at 394. The Seventh Circuit affirmed the imposition of the
bond, finding that Argentina had waived any immunity from prejudgment attachment by
acceding to Article VI of the New York Convention. Id. at 399-400. However, in
International the Argentinian instrumentality had affirmatively challenged the validity of
the award by interposing affirmative defenses. In addition, since the arbitration award
was issued in Chicago, see International, 293 F.3d at 397, the district court in
International was a “competent authority” within the meaning of Article V(1)(e) of the
New York Convention. See Skandia, 1997 WL 278054, *5 (a “competent authority” is a
court “of the country in which, or under the law of which” an award is issued) (internal
quotation omitted). Here, the arbitration award was issued in Beirut. Therefore, this
court is not a “competent authority” under Article V(1)(e) of the New York Convention.
Thus, International is inapposite. Article VI does not authorize prejudgment attachment
when a petitioner seeks to collect on an award issued elsewhere. See Concord
Reinsurance, 1994 WL 86401, *2.
       Libancell’s assertion that Lebanon’s submission to arbitration before an
UNCITRAL panel constituted an explicit waiver of immunity from prejudgment
attachment is also unconvincing. Article 26 of the UNCITRAL rules allow an arbitral
panel to impose “any interim measure it deems necessary” to protect “the subject matter



                                                                                           6
      Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 7 of 8



of the dispute.” (See UNCITRAL Arbitration Rules, Art. 26, Ex. A to the Declaration of
Eric L. Lewis, dated April 10, 2006). Article 26 also provides that “[a] request for
interim measures addressed by any party to a judicial authority shall not be deemed
incompatible with the agreement to arbitrate, or a waiver of that agreement.” (Id.)
Libancell argues that these provisions constitute an explicit waiver of Lebanon’s
immunity from prejudgment attachment. In support of this argument, Libancell relies on
Banco de Seguros, in which the Second Circuit found that a broad arbitration provision
enabled an arbitrator to require a foreign instrumentality to post pre-hearing security. See
Banco de Seguros, 344 F.3d at 261-62. The court analogized pre-hearing security to
prejudgment attachment, and proceeded to determine whether immunity from such
attachment had been waived pursuant to 28 U.S.C. § 1610(d). Id. at 260-61. However,
unlike Banco de Seguros, here no such order was issued by any arbitrator. Instead,
Libancell seeks prejudgment attachment in a jurisdiction other than that where the
arbitration occurred. A “waiver of immunity from prejudgment attachment must be
explicit in the common sense meaning of that word . . .” Id. at 261. Libancell has
identified no such explicit waiver by Lebanon. Therefore, Lebanon is immune from
prejudgment attachment pursuant to section 1610(d) of the FSIA.


       C. Preliminary Injunction
       Libancell also sought a preliminary injunction preventing the transfer of
Lebanon’s assets pending the levy of an order of attachment. Because Libancell has not
demonstrated that it is entitled to a prejudgment order of attachment, I need not determine
whether Libancell is entitled to a preliminary injunction in aid of attachment. However, I
will note that, as set forth above, New York law allows for the issuance of a temporary
retraining order pending the determination of a motion on notice for an order of
attachment. See N.Y. C.P.L.R. § 6210. In Grupo Mexicano de Desarrollo, S.A. v.
Alliance Bond Fund, Inc., 527 U.S. 308, 333 (1999), the Supreme Court held that Fed.
Rule Civ. P. 65 did not permit federal courts to enjoin parties from disposing of assets
pending adjudication of a claim for money damages. However, the Court made clear that
federal courts remain able to impose prejudgment remedies pursuant to Fed. R. Civ. P. 64
when those remedies are authorized by state law. Id. at 330-31. Thus, since New York



                                                                                           7
Case 1:06-cv-02765-HB Document 24 Filed 05/16/06 Page 8 of 8
